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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK
                                 MANHATTAN COURTHOUSE
Teal Lebaron, individually and on behalf of all                        1:22-cv-06262
others similarly situated,
                                     Plaintiff,

                       - against -                                 Class Action Complaint

Frey Brothers, Inc.,
                                                                    Jury Trial Demanded
                                     Defendant

       Plaintiff alleges upon information and belief, except for allegations pertaining to Plaintiff,

which are based on personal knowledge:


       1.     Frey Brothers, Inc. (“Defendant” or “Frey”) manufactures, labels, markets, and sells

laundry, personal, and home care products through a subscription model initiated through free

trials, described in its fine print as “Sample to Subscription.”

       2.     The subscription economy refers to the exchange of content, products and services

for recurring, scheduled payments.

       3.     This model benefits companies by establishing a reliable customer base with

predictable revenue.

       4.     One report claimed the subscription economy is growing nine times faster than the

S&P 500.

       5.     The subscription economy is based on negative option marketing, where the

customer’s silence, or non-rejection of goods or services constitutes acceptance.

       6.     The name comes from the fact that to cancel their enrollment or agreement, the

customer must exercise a “negative option” to affirmatively opt-out of the transactions.

       7.     The Federal Trade Commission (“FTC”) has identified four main types of negative
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option plans.

        8.      A continuity plan consumers agree in advance to receive periodic shipments of goods

or provision of services and incur charges until they take steps to cancel the arrangement.

        9.      Automatic renewal plans involve the automatic renewal of contracts at the end of a

fixed period unless consumers instruct otherwise.

        10.     Other types include free-to-pay or nominal fee-to-pay conversion plans.

        11.     These involve the customers receiving a good or service for a free or nominal price

for an introductory period.

        12.     However, if the customer does not affirmatively cancel their enrollment, they will be

charged a significantly higher amount for the product or service.

        13.     A December 2018 report from the Better Business Bureau (“BBB”) shows losses in

“free trial offer” cases pursued by the FTC over the last ten years exceed $1.3 billion.

        14.     From 2015 through 2017, the BBB received 36,986 complaints pertaining to these

so-called “free trials.”

        15.     Data from the FBI Internet Crime Complaint Center suggest that these complaints

are on the rise from year to year.

I.    FREY’S “FREE” TRIALS ARE MISLEADING

        16.     Defendant’s practices incorporates several of these elements.

        17.     When consumers visit Defendant’s website, they are offered to “Try Frey for FREE!”




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       18.   Should they click “Learn More,” they are still told they can “TRY US FOR FREE”

and “Try Laundry Care for free,” emphasized by the statement, “Free! Just pay $1 Shipping.”




       19.   Other pages reinforce the “trial” nature of any transaction, asking customers, “What

would you want to try!”




       20.   Clicking on either option presents parallel offers.

       21.   For example, “Let’s try Laundry Care” leads to “Try Laundry Care for free. Receive

samples of our top-rated laundry detergent in all three amazing fragrances.”




       22.   Next, customers are presented with “Free! Just Pay $1 Shipping,” a “TRY US FOR


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FREE” button, and eight “START MY FREE TRIAL” buttons.




       23.   Throughout the order process, the only mention of anything “non-free” appears

beneath the ordered products, “Personal Care Kit Ships in 18 Days.”




       24.   After telling consumers over and over they can try Frey for “free” by paying a

nominal shipping fee, most consumers will not pay close attention to the small box in the lower

right corner of the checkout page which states, “Your Upcoming Subscription,” which “Ships in

18 Days” and charges $49 “Every 10 Weeks.”




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       25.   The small print beneath the payment method states:

                     By making a purchase, you accept the Terms of
                     Service, SMS Policy, and Privacy Policy. Your
                     subscription will automatically renew and your
                     credit card will be charged the subscription fee. You
                     can cancel or modify your plan at any time from your
                     profile page.

       26.   Despite the promises of a free trial, Defendant enrolls customers in its “Sample to

Subscription Plan” without their knowledge.

       27.   This is only disclosed separately on a frequently asked questions page, buried

through the “Contact Us” link on the bottom of the website, when customers wonder why they

were charged.




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      Why was I charged after ordering a sample bundle?

      Our sample bundles are part of our Sample to Subscription Plan and a Complete

      Package, Lifestyle Kit, Laundry Care Package, or Personal Care Kit will follow unless

      the subscription is canceled before the trial period is over.

      •    Purchasing The Detergent Sample Bundle will sign you up for The Complete

           Package, a Lifestyle Kit, or a Laundry Care Package.

      •    Purchasing The Body Wash Sample Bundle will sign you up for The Personal Care

           Kit.

      Just a friendly reminder, the subscription can be edited, pushed back, or canceled at any

      time after purchasing your samples.

II.   DEFENDANT ALSO ENROLLS CONSUMERS VIA TEXT MESSAGING

          28.     Defendant uses its text messaging program to sign up customers for its free trial when

they check the box next to “Send me special offers through text” on the checkout page.




                Send me special offers through text
                I agree to receive recurring automated marketing text messages (e.g. cart
                reminders) at the phone number provided. Consent is not a condition to
                purchase. Message & data rates may apply. Message frequency varies. Relp
                HELP for help and STOP to cancel. View our Terms of Service, SMS
                Policy, and Privacy Policy.

          29.     The smaller print states that these “special offers” are actually purchases, as

Defendant states, “Consent is not a condition to purchase.”

          30.     Elsewhere on its website, Defendant gives itself permission to “charge [the] customer

on a monthly basis for the price of the chosen products … for as long as [the] customer purchases



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products through the SMS program.”




III. PROMISES OF SATISFACTION AND EASY CANCELLATION ARE DECEPTIVE

       31.    Defendant assures potential customers it is trustworthy by referencing the “[over]

250,000 customers” who have supposedly given it five star reviews.




       32.    Elsewhere in the order process, Defendant reassures customers that its sample

products are risk-free, with no catch and no fine print.




       33.    The text is also a blurb in which Defendant states that the samples offer is completely



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risk-free, with no catch and no fine print, stating:

                         It might sound that way, but we're serious. No
                         catch, no fine print. Thousands of customers love
                         FREY, and we’re so confident, we want to give
                         you a chance to try us totally risk free. If you don't
                         like us, cancel in your account instantly, or email
                         us and we'll do it for you.




       34.    The trial info page states that a customer is “free to change or cancel your Frey

subscriptions at any time.




        CAN I CANCEL ANYTIME?
        Of course! You are free to change or cancel your Frey subscriptions at any time.
        We also offer a 100% satisfaction guarantee, so feel secure knowing that you can
        return any purchase for a refund, for any reason.

       35.    Customers have voiced their opinions about Defendant’s practices on the internet.

       36.    The Better Business Bureau (“BBB”) website contains 186 complaints between 2019

and 2022, where Defendant has a 2.89-star rating.

       37.    Over half of the complaints are about the misleading free trial.

       38.    A sample of the complaints are shown below expressing common grievances about

unknowing enrollment in the subscription.




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       39.    On the internet community site, Reddit.com, customers have warned about the

dangers in signing up for Frey’s free trials.




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       40.    On third-party review site, trustpilot.com, Frey customers expressed similar

sentiments.

       41.    Of the 1,229 reviews, 20% are One-Star (Bad) and 6% are Two-Star (Poor).

       42.    Had Plaintiff and proposed class members known the truth about the trials, they

would not have signed up nor given their credit card information and would have tried – though

likely without success – to cancel their subscriptions before they were charged more than the initial


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dollar.

                                              Jurisdiction and Venue

          43.   Jurisdiction is based on the Class Action Fairness Act of 2005 (“CAFA”). 28 U.S.C.

§ 1332(d)(2).

          44.   The aggregate amount in controversy exceeds $5 million, including any statutory and

punitive damages, exclusive of interest and costs.

          45.   Plaintiff is a citizen of California.

          46.   Defendant is a Delaware corporation with a principal place of business in New York

County, New York.

          47.   The classes of persons Plaintiff seeks to represent includes persons who are citizens

of different states from which Defendant is a citizen.

          48.   The members of the classes Plaintiff seeks to represent are more than 100, because

the practices have been ongoing for several years.

          49.   The items and subscriptions are marketed to customers through Frey’s website and

text messaging program.

          50.   Venue is in this District because Defendant is subject to personal jurisdiction in this

State and is deemed to reside in this District because its contacts are sufficient to subject it to

personal jurisdiction here if this District were a separate State.

          51.   Venue is in this District because a substantial part of the events or omissions giving

rise to these claims occurred here, such as the decisions related to the trials and subscriptions.

          52.   Defendant received and processed payments through this District via its payment

processors and its website.

          53.   This Court has personal jurisdiction over Defendant because it conducts and transacts




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business, contracts to supply, and supplies goods within this State and District.

                                              Parties

        54.   Plaintiff Teal Lebaron is a citizen of Pollock Pines, California, El Dorado County.

        55.   Defendant Frey Brothers, Inc., is a Delaware corporation with a principal place of

business in New York, New York County, New York.

        56.   Frey was founded in 2016 to bring a masculine perspective to the laundry space.

        57.   Their products gained exposure through media attention, such as The Ellen

DeGeneres Show and Good Morning America.

        58.   Available sources show Defendant’s annual revenue exceeds $5 million.

        59.   Defendant has raised almost $6 million in venture capital from a “Who’s Who” of

Silicon Valley heavyweights, including Y Combinator, an accelerator, AltaIR Capital, 1984

Ventures and UpHonest Capital.

        60.   Plaintiff signed up for the free trial, gave her credit card information, and did not

expect to be billed beyond the initial one dollar and change for shipping.

        61.   Plaintiff relied on the words, terms coloring, descriptions, layout, placement, and/or

images from Defendant, in digital and/or social media.

        62.   Plaintiff would not have signed up for the trial if she knew it was not free, it would

subject her to recurring subscription charges, would be difficult to cancel, and get all her money

back.

        63.   Defendant provided either no refund or a partial refund to Plaintiff, based in part on

its failure to return the money she paid, and on allowing her to keep expensive detergent and/or

personal care items she would not have purchased at the prices Defendant listed them at.

        64.   Plaintiff is unable to rely on other subscription services which tout their free trials




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and risk-free cancellation policies because she is unsure whether those representations are truthful.

                                         Class Allegations

       65.    Plaintiff seeks certification under Fed. R. Civ. P. 23 of the following classes:

                       California Class: All persons in the State of
                       California who purchased the Product during the
                       statutes of limitations for each cause of action
                       alleged; and

                       Consumer Fraud Multi-State Class: All persons in
                       the States of Connecticut, Kansas, Arkansas,
                       Wyoming, North Dakota, Virginia, New Mexico and
                       Utah who purchased the Product during the statutes
                       of limitations for each cause of action alleged.

       66.    Defendant has sold the items through subscriptions to hundreds of thousands of

people, such that joinder is impracticable.

       67.    Common questions of issues, law, and fact predominate and include whether

Defendant’s representations were and are misleading and if Plaintiff and class members are entitled

to damages.

       68.    Plaintiff’s claims and basis for relief are typical to other members because all were

subjected to the same unfair, misleading, and deceptive representations, omissions, and actions.

       69.    Plaintiff is an adequate representative because her interests do not conflict with other

members.

       70.    No individual inquiry is necessary since the focus is only on Defendant’s practices

and the classes are definable and ascertainable.

       71.    Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       72.    Plaintiff’s counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.



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                            Violation of Unfair Competition Law (“UCL”),
                               Cal. Bus. & Prof. Code §§ 17200 et seq.1

          73.   Plaintiff incorporates by reference all preceding paragraphs.

          74.   Defendant’s conduct constitutes an unfair business act and practice because it signs

customers up for a free trial and enrolls them in a subscription without their knowledge.

          75.   Defendant falsely reassures customers it can easily cancel when they cannot.

          76.   Defendant’s conduct was and continues to be unfair and fraudulent because it made

materially false representations customers were signing up only for a free trial, which would

conclude without them being charged more than the one dollar for shipping.

          77.   Defendant’s misrepresentations constitute an “unlawful” practice because they

violate relevant laws, regulations and common law.

          78.   Plaintiff signed up to receive the Frey products because it was only one dollar for

shipping and she wanted to try them out.

          79.   Plaintiff was injured through the monies paid to Defendant.

          80.   Plaintiff seeks to enjoin Defendant’s future wrongful conduct.

                                Violation of False Advertising Law,
                               Cal. Bus. & Prof. Code §§ 17500 et seq.

          81.   Cal. Bus. & Prof. Code §§ 17500, et seq. prohibits untrue and misleading advertising.

          82.   Defendant committed acts of false advertising by representing that customers were

signing up for a free trial and that they could easily cancel the trial.

          83.   Plaintiff relied on the promises through the references to the numerous five star

reviews and the “frank” promises of “no fine print” that would ensnare them in a costly

subscription.



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    The California statutory claims are asserted on behalf of the California Class.


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       84.       As a result of Defendant’s conduct, Plaintiffs and members of the classes were

harmed and suffered actual damages as a result of Defendant’s FAL violations because

                  a. they would not have purchased the Product on the same terms if they
                      knew that the Product was not an actual free trial that would end at the
                      conclusion of the trial period with no additional costs incurred or
                      subscription entered into as represented;

                  b. they paid a price premium for the Product based on Defendant’s
                      misrepresentations; and

                  c. the Product does not have the characteristics, attributes, features, or
                      benefits as promised.

                            Violation of the Consumer Legal Remedies Act,
                                     Cal. Civ. Code §§ 1750 et seq.

       85.       Plaintiff is “consumer[s],” as defined in Civil Code section 1761(d).

       86.       At all times relevant, Defendant constituted a “person,” as defined in Civil Code

section 1761(c).

       87.       At all times relevant, the Product manufactured, marketed, advertised, and sold by

Defendant constituted a “good,” as defined in Civil Code section 1761(a).

       88.       The purchases of the Product by Plaintiff and class members were and are

“transactions” within the meaning of Civil Code section 1761(e).

       89.       Plaintiff believed the items she obtained were part of a free trial and that she could

easily cancel.

       90.       Defendant’s representations and omissions concerning the characteristics, attributes,

features, and benefits of the Product were false and/or misleading as alleged herein.

       91.       Defendant’s false and misleading representations and omissions were designed to,

and did, induce the purchase and use of the Product for personal, family, or household purposes



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by Plaintiff and class members, and violated and continue to violate the following sections of the

CLRA:

               a. In violation of Civil Code § 1770(a)(5), Defendant represented that the

                   items and subscription had characteristics, attributes, features, and

                   benefits they did not have, such as being “free,” and could easily be

                   cancelled;


               b. In violation of Civil Code § 1770(a)(9), Defendant advertised the items

                   and subscriptions with an intent not to sell them as advertised; and


               c. In violation of Civil Code § 1770(a)(16), Defendant represented the

                   items and subscription as supplied in accordance with its previous

                   representations of being free and easy to cancel, when this was false.


        92.   Defendant profited from the sale of the falsely, deceptively, and unlawfully

advertised Product to unwary consumers.

        93.   Defendant’s practices caused harm to Plaintiff and to each class member.

        94.   Plaintiff will send a CLRA Notice to Defendant concurrently with the filing of this

action or shortly thereafter, which details and includes these violations of the CLRA, demand

correction of these violations, and provide the opportunity to correct these business practices. Cal.

Civ. Code § 1782(a),

        95.   If Defendant does not correct these business practices, Plaintiff will amend or seek

leave to amend the Complaint to add claims for monetary relief, including restitution and actual

damages under the CLRA.




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                        Violation of the Automatic Renewal Law (“ARL”),
                              Cal. Bus. & Prof. Code § 17600, et seq.

       96.    Defendant did not disclose the automatic renewal offer terms (“AROT”) in a clear

and conspicuous manner before Plaintiff signed up and paid for the trial.

       97.    Defendant failed to present the trial terms in a clear and conspicuous manner.

       98.    Instead, the trial terms are confusing, overreaching, and inconsistent.

       99.    The terms are presented in smaller font that fails to get the customer’s attention and

are insufficient to counter the numerous references to the “free” trial.

       100. Defendant failed to obtain Plaintiff’s affirmative consent to enroll in the subscription

before charging her.

       101. Defendant failed to provide an adequate post-transaction acknowledgement of the

parties’ obligations.

       102. Defendant failed to provide a way for Plaintiff to cancel her enrollment in the same

way she was unknowingly signed up, through her online account.

       103. Defendant presents a gauntlet of screens when customers seek to cancel.

       104. This includes numerous pop-up screens with attempts at preventing them from

cancelling by offering lower prices and discounts.

       105. If the customer gets through all of the screens without giving up, Defendant still

requires them to send a text message or an email.

       106. Neither of these methods are guaranteed to end the customer’s enrollment and

continuous charges, as Defendant fails to adequately process the cancellation requests.

       107. Defendant seeks all applicable damages and penalties.




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                            Violation of State Consumer Fraud Acts

                              (Consumer Fraud Multi-State Class)


       108. The Consumer Fraud Acts of the States in the Consumer Fraud Multi-State Class are

similar to the consumer protection statute invoked by Plaintiff and prohibit the use of unfair or

deceptive business practices in the conduct of commerce.

       109. The members of the Consumer Fraud Multi-State Class reserve their rights to assert

their consumer protection claims under the Consumer Fraud Acts of the States they represent

and/or the consumer protection statute invoked by Plaintiff.

       110. Defendant intended that members of the Consumer Fraud Multi-State Class would

rely upon its deceptive conduct.

       111. As a result of Defendant’s use of artifice, and unfair or deceptive acts or business

practices, the members of the Consumer Fraud Multi-State Class sustained damages.

       112. Defendant’s conduct showed motive and a reckless disregard of fair play such that

an award of punitive damages is appropriate.

                                               Fraud

                               (California and Multi-State Class)

       113. Defendant misrepresented and omitted attributes and qualities of the trial because it

was not free.

       114. Defendant’s trial was designed to obtain the customer’s credit card information not

for shipping, but to charge them for subscriptions when they unknowingly failed to cancel

subscriptions they were not aware of signing up for.

       115. Defendant had actual and constructive knowledge of the falsity and deception of its

actions and how customers like Plaintiff were negatively affected through the numerous



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complaints it responded to on the website of the BBB.

                                         Unjust Enrichment

                                  (California and Multi-State Class)

         116. Defendant obtained benefits and monies because the trial Plaintiff and class members

agreed to was not free, to their detriment and impoverishment, and seek restitution and

disgorgement of inequitably obtained profits.

                                  Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all causes of action so triable.

    WHEREFORE, Plaintiff prays for judgment and relief as follows:

   1. Declaring this a proper class action, certifying Plaintiff as representative and the

         undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing Defendant to correct the

         challenged practices to comply with the law;

   3. An award of compensatory damages, except for monetary damages under the CLRA;

   4. Awarding monetary damages, statutory and/or punitive damages pursuant to the Non-

         California Consumer Fraud Claims;

   5. Awarding costs and expenses, including reasonable fees for Plaintiff’s attorneys and

         experts; and

   6. Other and further relief as the Court deems just and proper.

Dated:            July 23, 2022
                                                    Respectfully submitted,

                                                    /s/ Spencer Sheehan




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